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                                        CERTIFICATE OF SERVICE

        I, Jeffrey R. Waxman, certify that I am, and at all times during the service of process was, not less than
18 years of age and not a party to the matter concerning which service of process was made. I further certify that
the service of this summons and a copy of the complaint was made November 11, 2020 by:

       Mail Service: Regular, first class United States mail, postage fully pre-paid, addressed to:

        SEE ATTACHED LIST

       Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:

       Residence Service: By leaving the process with the following adult at:

       Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
        addressed to the following officer of the defendant at:

               Publication: The defendant was served as follows: [Describe briefly]

       State Law: The defendant was served pursuant to the laws of the State of ________________________, as
        follows: [Describe briefly]


        Under penalty of perjury, I declare that the foregoing is true and correct.


        November 16, 2020                                 /s/ Jeffrey R. Waxman
                Date                                               Signature


                         Print Name: Jeffrey R. Waxman, Esq.

                         Business Address: 500 Delaware Avenue, Suite 1500

                         City: Wilmington         State: DE        Zip: 19801




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